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                                                                                 E-FILED
                                                Thursday, 10 September, 2009 02:44:40 PM
                                                             Clerk, U.S. District Court, ILCD




                IN THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF ILLINOIS
                             AT PEORIA

UNITED STATES OF AMERICA,         )
                                  )
                Plaintiff,        )
     vs.                          )     Case No. 09-CR-10030
                                  )
ALI SALEH KAHLAH AL-MARRI,        )
                                  )
                Defendant.        )

SECOND CLASSIFIED PROTECTIVE ORDER PURSUANT TO SECTION 4 OF THE
          CLASSIFIED INFORMATION PROCEDURES ACT AND
    RULE 16(d)(1) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE
